          Case 1:11-vv-00620-UNJ Document 140 Filed 09/16/16 Page 1 of 7




        In the United States Court of Federal Claims
                               OFFICE OF SPECIAL MASTERS
                                              No. 11-620V
                                         Filed: August 22, 2016

* * * * * * * *                  *   *   * *  *          UNPUBLISHED
DANIELLE SCHMIDT,                          *
                                           *
                     Petitioner,           *             Chief Special Master Dorsey
                                           *
v.                                         *             Joint Stipulation on Damages;
                                           *             Human Papillomavirus Vaccine
SECRETARY OF HEALTH                        *             (“HPV”/”Gardasil”); Aplastic
AND HUMAN SERVICES,                        *             Anemia; Epstein Barr Virus (“EBV”)
                                           *
                     Respondent.           *
                                           *
* * * * * * * * * * * * *
Mark T. Sadaka, Mark T. Sadaka, LLC, Englewood, NJ, for petitioner.
Debra Begley, United States Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

        On September 28, 2011, Danielle Schmidt filed a petition pursuant to the National
Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to 34 (2012). Petitioner alleged
that as a result of receiving a human papillomavirus (“HPV”/“Gardasil”) vaccine on November
7, 2008, she developed a reactivated Epstein Barr virus infection and aplastic anemia.
Stipulation at ¶ 4. Petitioner further alleged that she has experienced the residual effects of this
injury for more than six months. Id.

       On August 19, 2016, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that petitioner’s alleged

1
 Because this decision contains a reasoned explanation for the undersigned’s action in this case, the
undersigned intends to post this ruling on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services). As provided by Vaccine Rule 18(b), each party has 14
days within which to request redaction “of any information furnished by that party: (1) that is a trade
secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b).

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§
300aa-1 to -34 (2012) (Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. § 300aa.
                                                     1
          Case 1:11-vv-00620-UNJ Document 140 Filed 09/16/16 Page 2 of 7



reactivated Epstein Barr virus infection and/or aplastic anemia, or any other condition, was
caused-in-fact by her HPV vaccination. Stipulation at ¶ 6. Nevertheless, the parties agree to the
joint stipulation, attached hereto as Appendix A. The undersigned finds the stipulation
reasonable and adopts it as the decision of the Court in awarding damages, on the terms set forth
therein.

        The parties stipulate that petitioner shall receive the following in compensation:

    a. A lump sum of $70,000.00 in the form of a check payable to petitioner. This amount
       represents compensation for all damages that would be available under 42 U.S.C. §
       300aa-15(a).

        Id. at ¶ 8.

        The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, the clerk of the court SHALL ENTER JUDGMENT in accordance with the terms
of the parties’ stipulation.3

        IT IS SO ORDERED.

                                                          s/Nora Beth Dorsey
                                                          Nora Beth Dorsey
                                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                     2
Case 1:11-vv-00620-UNJ Document 140 Filed 09/16/16 Page 3 of 7
Case 1:11-vv-00620-UNJ Document 140 Filed 09/16/16 Page 4 of 7
Case 1:11-vv-00620-UNJ Document 140 Filed 09/16/16 Page 5 of 7
Case 1:11-vv-00620-UNJ Document 140 Filed 09/16/16 Page 6 of 7
Case 1:11-vv-00620-UNJ Document 140 Filed 09/16/16 Page 7 of 7
